                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE



 TAMMY BRAWNER and
 GREG BRAWNER

       Plaintiffs,

 v.

                                                                     No. 3:17-cv-00108
 SCOTT COUNTY, TENNESSEE,
 LISA TERRY, TIFFANY BYRGE,
 AMY NICELY, DEREK PHILLIPS,
 SHANE MASON, BRITTANY BROWN,
 unknown JOHN and
 JANE DOE, jail officers,

 And

 ADVANCED CORRECTIONAL
 HEALTHCARE (“ACH”),
 and BRITTANY MASSENGALE, LPN,

       Defendants.

                              NOTICE OF NO OBJECTION

       Come the Defendants, Scott County, Tennessee, Lisa Terry, Tiffany Byrge, Amy

 Nicely, Derek Phillips, Shane Mason, and Brittany Brown by and through counsel and

 notify the court that these Defendants have no objection to Plaintiff filing the Second

 Amended Complaint.       These Defendants, of course, reserve any and all defenses

 available to them and the filing of this notice should not be construed by anyone to be a

 waiver of any defense.




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        RESPECTFULLY SUBMITTED this 17th day of October, 2017.


                                             /s/Arthur F. Knight, III
                                             Arthur F. Knight, III, BPR # 016178
                                             Jonathan S. Taylor, BPR#025094
                                             Taylor & Knight, GP
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on October 17, 2017, a copy of the foregoing Notice was filed
 electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
 system to all parties indicated on the electronic filing receipt. All other parties will be
 served by U.S. Mail. Parties may access this filing through the Court’s electronic filing
 system.


                                                    s/Arthur F. Knight, III
                                                    Arthur F. Knight, III




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